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            EXHIBIT 3
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                               EXHIBIT 3—PARTIES’ JOINT CHART
 1

 2   Publishers’         Anthropic’s           Publishers’            Anthropic’s          For the
     Requests            Responses             Proposed               Proposed             Court’s Use
 3                                             Compromise             Compromise

 4   Publishers’         “Anthropic            If Anthropic does      Producing
     RFP 50:             incorporates its      not produce the        anonymized
 5   “Documents          General               requested user         prompt and
 6   sufficient to       Objections,           information (i.e.,     output data with
     show, by            Objections to         usernames, email       unique user IDs
 7   Claude model        Definitions, and      addresses, other       is a reasonable
     and by date, all    Objections to         user information)      compromise.
 8   User or             Instructions as if    for responsive         Moreover,
     Subscriber          fully asserted        prompts and            Anthropic will
 9
     prompts             herein.               output, Anthropic      produce the
10   instructing         Anthropic             should be              names and email
     Claude to           objects to this       precluded from         addresses of
11   search for,         Request as            making any             Plaintiffs’
     identify, recite,   overbroad,            argument based on      agents, to the
12   or otherwise        unduly                the user               extent they can
     generate songs      burdensome,           information it         be identified by
13
     or their lyrics;    oppressive, and       failed to disclose,    Anthropic, and
14   to combine          seeking               including arguing      will not redact
     lyrics from one     information that      that prompts were      the
15   source with         is not relevant to    submitted by           @anthropic.com
     lyrics from         either party’s        Publishers, not        domain from
16   another source;     claims or             third-party users.     email addresses
     or to combine       defenses nor is       Fed. R. Civ. P.        associated with
17
     lyrics from one     it proportional       37(c)(1).              Anthropic’s
18   source with         to the needs of       Alternatively,         agents.
     lyrics generated    this case             Anthropic should       Anthropic will
19   by Claude.” Ex.     because it asks       disclose the first     also agree not to
     1, Pls.’ Second     for “all User or      six characters of      make affirmative
20   Set of Requests     Subscriber            all usernames and      arguments based
21   for Production      prompts”              email addresses        on redacted
     to Def. at 12-13    relating to use       (and the               information. But
22   (Mar. 22,           of all “songs or      “@anthropic.com”       Anthropic
     2024).              their lyrics,”        domain for             cannot
23                       rather than           Anthropic              determine, much
                         relating to           employee users) in     less concede,
24                       Publishers’           the first instance,    that none of the
25                       Works. Such           without prejudice      redacted user
                         “lyrics” can          to Publishers’         information is
26                       include, for          ability to later       associated with
                         example, a            seek full user         Plaintiffs’
27                       single common         information as         agents, since
                         word or phrase.       necessary.             Plaintiffs refuse
28                       Anthropic also                               to provide a list
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     Publishers’      Anthropic’s          Publishers’         Anthropic’s         For the
 1
     Requests         Responses            Proposed            Proposed            Court’s Use
 2                                         Compromise          Compromise

 3                    objects to this                          of their agents
                      Request as                               who used
 4                    vague and                                Claude.
                      ambiguous
 5                    insofar as it
 6                    includes the
                      undefined
 7                    phrase “the use
                      or potential use
 8                    of Claude” and
                      the undefined
 9
                      term “source,”
10                    which do not on
                      their own offer
11                    appropriate
                      parameters for
12                    providing a
                      response.
13
                      Anthropic
14                    objects to this
                      Request as
15                    overbroad,
                      unduly
16                    burdensome,
                      and not
17
                      proportional to
18                    the needs of this
                      case to the
19                    extent it seeks
                      information
20                    relating to AI
21                    models other
                      than Claude, as
22                    defined by the
                      Court (Dkt.
23                    273), or future
                      versions of
24                    Claude released
25                    beyond the
                      product
26                    development
                      end date to be
27                    negotiated by
                      the Parties.
28                    Anthropic
                                                   2                   Case No. 5:24-cv-03811-EKL-SVK
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     Publishers’      Anthropic’s           Publishers’        Anthropic’s         For the
 1
     Requests         Responses             Proposed           Proposed            Court’s Use
 2                                          Compromise         Compromise

 3                    objects to this
                      Request to the
 4                    extent it requires
                      Anthropic to
 5                    create or
 6                    provide
                      information in a
 7                    manner that
                      Anthropic does
 8                    not keep in the
                      ordinary course
 9
                      of business, or
10                    otherwise
                      requires the
11                    expenditure of
                      extraordinary
12                    efforts to
                      compile.
13
                      Anthropic
14                    objects to this
                      Request to the
15                    extent it
                      prematurely
16                    seeks expert
                      testimony or
17
                      discovery.
18                    Anthropic
                      objects to this
19                    Request to the
                      extent it is not
20                    reasonably
21                    limited in time
                      or otherwise not
22                    limited to a
                      timeframe
23                    relevant to this
                      litigation.
24                    Anthropic also
25                    objects to this
                      Request to the
26                    extent it seeks
                      information and
27                    documents
                      protected by the
28                    attorney-client
                                                   3                   Case No. 5:24-cv-03811-EKL-SVK
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     Publishers’      Anthropic’s          Publishers’         Anthropic’s         For the
 1
     Requests         Responses            Proposed            Proposed            Court’s Use
 2                                         Compromise          Compromise

 3                   privilege, work-
                     product
 4                   doctrine, or any
                     other applicable
 5                   privilege or
 6                   immunity.
                     Subject to and
 7                   without waiving
                     the foregoing
 8                   specific and
                     general
 9
                     objections,
10                   Anthropic is
                     willing to
11                   continue to meet
                     and confer
12                   regarding the
                     relevance and
13
                     scope of this
14                   Request,
                     including with
15                   respect to
                     finalizing search
16                   terms.” Ex. 2,
                     Def.’s Am.
17
                     Responses to
18                   Pls.’ Second Set
                     of Requests for
19                   Production at
                     44-45 (Dec. 20,
20                   2024).
21   Publishers’     “Anthropic            See Publishers’     See Anthropic’s
     RFP 51:         incorporates its      proposed            proposed
22   “Documents      General               compromise          compromise
     sufficient to   Objections,           above.              above.
23   show all        Objections to
     Claude          Definitions, and
24   responses or    Objections to
25   outputs         Instructions as if
     containing song fully asserted
26   lyrics,         herein.
     including a     Anthropic
27   breakdown by    objects to this
     Claude model    Request as
28   and date.” Ex.  overbroad,
                                                   4                   Case No. 5:24-cv-03811-EKL-SVK
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     Publishers’       Anthropic’s           Publishers’       Anthropic’s         For the
 1
     Requests          Responses             Proposed          Proposed            Court’s Use
 2                                           Compromise        Compromise

 3   1, Pls.’ Second   unduly
     Set of Requests   burdensome,
 4   for Production    oppressive, and
     to Def. at 13     seeking
 5   (Mar. 22,         information that
 6   2024).            is not relevant to
                       either party’s
 7                     claims or
                       defenses nor is
 8                     it proportional
                       to the needs of
 9
                       this case
10                     because it asks
                       for “all Claude
11                     responses or
                       outputs”
12                     containing all
                       “song lyrics,”
13
                       rather than
14                     relating to
                       Publishers’
15                     Works.
                       Anthropic
16                     objects to this
                       Request as
17
                       vague and
18                     ambiguous
                       insofar as it
19                     includes the
                       undefined
20                     phrase “song
21                     lyrics,” which
                       does not on its
22                     own offer
                       appropriate
23                     parameters for
                       providing a
24                     response, as it
25                     can include, for
                       example, a
26                     single common
                       word or phrase.
27                     Anthropic
                       objects to this
28                     Request as
                                                   5                   Case No. 5:24-cv-03811-EKL-SVK
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     Publishers’      Anthropic’s           Publishers’        Anthropic’s         For the
 1
     Requests         Responses             Proposed           Proposed            Court’s Use
 2                                          Compromise         Compromise

 3                    overbroad,
                      unduly
 4                    burdensome,
                      and not
 5                    proportional to
 6                    the needs of this
                      case to the
 7                    extent it seeks
                      information
 8                    relating to AI
                      models other
 9
                      than Claude, as
10                    defined by the
                      Court (Dkt.
11                    273), or future
                      versions of
12                    Claude released
                      beyond the
13
                      product
14                    development
                      end date to be
15                    negotiated by
                      the Parties.
16                    Anthropic also
                      objects to this
17
                      Request to the
18                    extent it requires
                      Anthropic to
19                    create or
                      provide
20                    information in a
21                    manner that
                      Anthropic does
22                    not keep in the
                      ordinary course
23                    of business, or
                      otherwise
24                    requires the
25                    expenditure of
                      extraordinary
26                    efforts to
                      compile.
27                    Anthropic
                      objects to this
28                    Request to the
                                                   6                   Case No. 5:24-cv-03811-EKL-SVK
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     Publishers’      Anthropic’s         Publishers’          Anthropic’s         For the
 1
     Requests         Responses           Proposed             Proposed            Court’s Use
 2                                        Compromise           Compromise

 3                    extent it
                      prematurely
 4                    seeks expert
                      testimony or
 5                    discovery.
 6                    Anthropic
                      objects to this
 7                    Request to the
                      extent it is not
 8                    reasonably
                      limited in time
 9
                      or otherwise not
10                    limited to a
                      timeframe
11                    relevant to this
                      litigation.
12                    Anthropic also
                      objects to this
13
                      Request to the
14                    extent it seeks
                      information and
15                    documents
                      protected by the
16                    attorney-client
                      privilege, work-
17
                      product
18                    doctrine, or any
                      other applicable
19                    privilege or
                      immunity.
20                    Subject to and
21                    without waiving
                      the foregoing
22                    specific and
                      general
23                    objections,
                      Anthropic
24                    responds as
25                    follows:
                      Anthropic is
26                    willing to
                      continue to meet
27                    and confer
                      regarding the
28                    relevance and
                                                   7                   Case No. 5:24-cv-03811-EKL-SVK
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     Publishers’      Anthropic’s          Publishers’         Anthropic’s         For the
 1
     Requests         Responses            Proposed            Proposed            Court’s Use
 2                                         Compromise          Compromise

 3                    scope of this
                      Request,
 4                    including with
                      respect to
 5                    finalizing search
 6                    terms.”
                      Ex. 2, Def.’s
 7                    Am. Responses
                      to Pls.’ Second
 8                    Set of Requests
                      for Production
 9
                      at 45-46 (Dec.
10                    20, 2024).

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                                                   8                   Case No. 5:24-cv-03811-EKL-SVK
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